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                            UNITED STATES BANKRUPTCY COURT
                                                         I         , or
                                  WEST PALM BEACH DIVISION
                                         www.flsb.uscourts.gov

 In re:                                                         Chapter 11

 BANYAN CAY RESORT & GOLF, EEC,                                 Case No. 23-12386-EPK
 et al1
                                                                (Jointly Administered)
             Debtors.
                                                   /

     AGrED EMERGENCY MOTION TO SUPPLEMENT THE FINAL ORDER
 AUTHORIZING USE OF CASH COLLATERAL PURSUANT TO 11 U.S.C. § 363, (II)
 GRANTING ADEQUATE PROTECTION PURSUANT TO 11 U.S.C. §§ 361 AND 363,
  (III) AUTHOrZING THE DEBTORS TO OBTAIN POSTPETITION FINANCING
 PURSUANT TO 11 U.S.C. §§ 105(A), 362, 364(C), AND 364(D), AND (IV) GRANTING
 SUPER PRIORITY CLAIMS TO THE DIP LENDER PURSUANT TO 11 U.S.C. 364(C)

                                     (Expedited Hearing Requested)
                                         Basis for Expedited Relief
                   The Lender, together with the consent of the Debtors, request that
                   the relief requested herein, which relief seeks to supplement the
                   Final DIP & Cash Collateral Order, be heard on or about August 16,
                   2023. The Lender respectfully submits that an expedited hearing on
                   the aforementioned relief is warranted because the relief requested
                   herein is urgent in nature and is necessary to maintain the Debtors’
                   estates and their property. No party will be prejudiced by the entry
                   of the Proposed Supplemental Order, particularly in light of its
                   consensual nature. The Lender and the Debtors respectfully request
                   that the Court waive the provisions of Rule 9075-l(B) of the Local
                   Rules, which require an affirmative statement that the Debtors have
                   made a bona fide effort to resolve the issues raised in this expedited
                   motion, as the relief requested herein is urgent in nature and does
                   not lend itself to resolution in advance of a hearing.1




1 The Debtors are: (i) Banyan Cay Investment, LLC; (ii) Banyan Cay Mezzanine Borrower, LLC; (iii) Banyan Cay
Resort & Golf LLC; (iv) Banyan Cay Dev. LLC; (v) Banyan Cay Villas, LLC; and (vi) Banyan Cay Maintenance,
LLC. The address of the Debtors is 1900 Banyan Club Road, West Palm Beach, Florida 33401.
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         U.S. Real Estate Credit Holdings III-A, LP (“U.S. Real Estate” or the “Lender”), the

primary senior secured creditor and DIP Lender in the above-captioned Chapter 11 Cases and

Banyan Cay Resort and Golf, EEC, and the above captioned debtors and debtors in possession

herein (collectively, the “Debtors”), by and through undersigned counsel, pursuant to 11 U.S.C.

§§ 105, 363, 364 and Rules 2002 and 4001 of the Federal Rules of Bankruptcy Procedure file this

Agreed Motion to Supplement the Final Order Authorizing Use of Cash Collateral Pursuant to 11

U.S.C. § 363, (II) Granting Adequate Protection Pursuant to 11 U.S.C. §§ 361 And 363,

(III) Authorizing the Debtors to Obtain Postpetition Financing Pursuant to 11 U.S.C. §§ 105(a),

362, 364(c), And 364(d), and (IV) Granting Super Priority Claims to the DIP Lender Pursuant to

11 U.S.C. 364(c) (the “Motion”), and respectfully represent as follows:

                                               INTRODUCTION

                  This Court hasjurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334.

This cause is a core proceeding pursuant to 28 U.S.C. § 157(b)(2). Venue of these proceedings and

this Motion is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                               BACKGROUND2

                  On February 16, 2023, Banyan Cay Mezzanine Borrower, EEC (“Mezz Borrower”)

filed a voluntary petition for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C.

§§ 101-1532 (the “Bankruptcy Code”) in this Court. On March 29, 2023 (the “Petition Date”), the

Debtors other than the Mezz Borrower (the “Operating Debtors” and collectively with Mezz




2 All capitalized terms used herein that are not otherwise defined shall have the meanings ascribed to them in the
DIP Financing Motion (as defined herein).
                                                          2
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Borrower, the “Debtors”) filed voluntary petitions for relief under Chapter 11 of the Bankruptcy

Code.

               The Debtors’ cases (the “Chapter 11 Cases”) are being jointly administered.

               The Debtors continue to operate their business and manage its affairs as debtors-in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

              No trustee or examiner has been appointed in the Debtors’ Chapter 11 Cases.

              No committee has been appointed in the Debtors’ Chapter 11 Cases pursuant to

section 1102 of the Bankruptcy Code.

               On May 18, 2023, the Court entered the Final Order (I) Authorizing Use of Cash

Collateral Pursuant to 11 U.S.C. §§363, (II) Granting Adequate Protection Pursuant to 11 U.S.C.

§§ 361 and 363, (III) Authorizing the Debtors to Obtain Postpetition Financing Pursuant to 11

U.S.C. §§ 105(a), 362, 364(c), and 364(d), and (IV) Granting Super Priority Claims to the DIP

Lender Pursuant to 11 U.S.C. 364(c) (ECF No. 131, the “Final DIP & Cash Collateral Order”).

               The Final DIP & Cash Collateral Order provided for the use of Cash Collateral (as

defined therein) by the Debtors during the pendency of the Chapter 11 Cases and the provision of

a DIP Loan up to $3.8 million in debtor in possession financing (“DIP Loan”) to cover the Debtors’

operational expenses pursuant to 13 Week Budget (the “Budget”). The Budget for funding of the

Debtors operations ran through July 16, 2023.

               On May 1, 2023, the Court entered the Bid Procedures Order approving the Bid

Procedures and the Amended and Restated Asset Purchase Agreement (the “Stalking Horse

Agreement”) between the Debtors and Westside Property Investment Company, Inc. (the “Stalking

Horse Bidder”).

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               The Stalking Horse Agreement proposed the sale of, inter alia. Lender’s collateral,

as set forth in the Bid Procedures Order (the “Sale”), for $102,100,000.00 (the “Stalking Horse

Sale Proceeds”).

               On June 26, 2023, the Court entered the Order (I) Authorizing and Approving the

Sale of Certain Property of the Debtors, Free and Clear of Liens, Claims, Encumbrances and

Interest and (II) Granting Related Relief (ECF No. 183, the “Sale Order”). As part of the Sale

Order, the Lender agreed to extend the expiration of the Final DIP & Cash Collateral Order from

July 16, 2023, to July 31, 2023 to accommodate the closing and an expedited confirmation process.

               Additionally, on April 28, 2023, the Court entered an Order Granting Motion for

Entry of an Order (A) Authorizing the Debtors to Assume Purchase and Sale Agreement with

Banyan Cay Estates, LLC; (B) compromising Controversy Therebetween, and (C) Granting

Related Relief (ECF No. 105, the “Estate Lots Order”). The Estate Lots Ordered contemplated the

proposed sale of certain of the Lender’s collateral (the “Estate Lots Sale”) for a purchase price of

$10,500,00.00 (“Estate Lot Sale Proceeds” collectively, with the Stalking Horse Sale Proceeds,

the “Proceeds”).

               The Sale Order required the transactions to close simultaneously and set the Outside

Closing Date for both the Stalking Horse Sale and the Estate Lots Sale on July 31, 2023, with the

Proceeds to be paid to the Lender at Closing.

               On or about July 25, 2023, Lender was advised that the sale transaction would not

occur on or before the Outside Closing Date.

               On July 28, 2023, based upon the prospective breach of the Stalking Agreement the

Final DIP & Cash Collateral Order the Lender transmitted a Termination Declaration to the

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Debtors indicating Lender’s intention to exercise its Default Remedies, under the Final DIP &

Cash Collateral Order including, but not limited to: i) terminating any further commitment to

extend credit to the Debtors without further written approval from Lender; ii ) i mposing the default

interest rate of 15%; and iii) exercising its credit bid rights under Section 7 of the Final DIP &

Cash Collateral Order (“Credit Bid Rights”).

               On July 31, 2023, the Stalking Horse Bidder failed to close on the transaction and

the Stalking Horse Agreement and the Estate Lots Sale were terminated.

               On or about August 3, 2023, in response to a Deposit Demand dated July 28, 2023

issued by Lender, Old Republic National Title Company, the Escrow Agent for the Stalking Horse

Agreement, wired the $3,063,000.00 deposit to Lender with the Consent of the Debtors and

Stalking Horse Bidder.

               As of the date hereof, the Debtors are in default of the Final DIP & Cash Collateral

Order.

               The Lender intends to exercise its Credit Bid Rights under Section 7 of the Final

DIP and Cash Collateral Order to purchase the real property identified in the Stalking Horse

Agreement and the Estate Lots Sale (the “Credit Bid Transaction”) but requires additional time to

complete the transaction. The Debtors have agreed to cooperate and assist with the Credit Bid

Transaction. The Credit Bid Transaction will not include the property encumbered by Bellefrau

Group LLC or ZJC, LLC. However, Lot 21 (as defined in the Final DIP & Cash Collateral Order)

will be included. The Lender expects to close on the Credit Bid Transaction on or about August

31, 2023.




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                  On August 9, 2023, the Lender filed an Emergency Motion to (I) Compel Debtors

to Comply with Paragraph 7 of the Sale Order; (II) Amend the Sale Order to Substitute Lender’s

APA ’s and (III) Authorize US. Real Estate Credit Holdings III-A, LP’s Credit Bid (ECF No. 3 08,

the “Motion to Compel”), concomitantly providing to the Debtors the financial terms of the Credit

Bid Transaction and requesting that the Court authorize the Credit Bid Transaction and compel the

Debtors to execute the Lender APA (as defined therein). Debtors’ counsel has advised they

consent to the Motion to Compel and will continue to cooperate in closing the Credit Bid

Transaction as set forth therein.

                                           RELIEF REQUESTED

                  As of July 31, 2023, the Debtors do not have sufficient available sources of working

capital and financing to carry on the operation of their businesses without the continued financing

requested herein.3 Accordingly, the Debtors, with the consent of the Lender, respectfully request

that the Court supplement the Final DIP & Cash Collateral Order solely4 to authorize the continued

financing by the Lender, pursuant to a supplemental budget to be agreed upon by the parties.

                  The ability of the Debtors to pay employees, maintain business relationships with

vendors and suppliers, and maintain the property is essential to preserve the collateral under the

difficult scenario with which the parties are faced.             In addition, the Debtors’ critical need for

financing is immediate. Without the financing, the property would fall into disrepair and be

detrimental to the estates and the Lender and serious and irreparable harm to the Debtors and their




3 Lender has agreed to continue to finance the Debtors operations pursuant to the terms of the Supplemental Budget
pending approval of this Motion by the Court.
4 Nothing contained in this Motion or order should be deemed to affect or alter the finality of the Final DIP & Cash
Collateral Order or be deemed a waiver of any rights and remedies in favor of the Lender.
                                                         6
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estates would occur. The preservation and maintenance of the property to avoid further diminution

in value pending the closing of the Credit Bid Transaction, are of the utmost significance and

importance to the Debtors estates.

               Accordingly, the Debtors seek the entry of an Order supplementing the Final DIP

& Cash Collateral Order to provide for the continued financing as set forth in the proposed

stipulation and supplemental final order (the “Proposed Supplemental Order”), the form of which

is attached hereto as Exhibit 1. Pursuant to a supplemental budget (the “Supplemental Budget”),

a copy of which is attached as Exhibit A to the Proposed Supplemental Order, all disbursements

pursuant to the Supplemental Budget shall be pursuant to the requirements set forth in the DIP

Loan Documents and require the Debtors to provide to the Lender a DIP Loan Advance Certificate

(as defined therein) and sufficient information and documentation regarding the purpose and use

of the disbursement. Additionally, the Debtors shall provide, if so requested by the Lender,

sufficient evidence regarding the use of funds from a prior DIP Loan Advance (i.e., cancelled

checks, invoices, receipts, and wire certificates).

               The continued financing proposed herein will minimize disruption of the Debtors’

operations and maintain value, pending the closing of the Credit Bid Transaction.                 The

Supplemental Budget also provides for certain funding of professional fees for the administration

of the cases and the closing on the Credit Bid Transaction. The Debtors do not believe they can

continue to operate the business, or preserve the value of the assets, including the property, without

the continued financing that Lender has agreed to provide on the terms set forth herein. The

Debtors and the property face immediate and irreparable harm if relief is not granted in this matter.



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               Lender consents to the continued financing is subject to: (i) the entry of the

Proposed Supplemental Order substantially in the form attached hereto; (ii) Debtors’ execution of

necessary and customary or other documents as may be requested by Lender; and (iii) the Debtors’

continued cooperation with the Credit Bid Transaction.

         WHEREFORE, the Debtors and the Lender respectfully request that this Court enter an

order (a) granting this Motion; (b) supplementing the Final DIP & Cash Collateral Order as

provided herein; and (c) granting such other general and equitable relief as is just.

         DATED: August 10, 2023                Respectfully submitted,

                                               BERGER SINGERMAN LLP
                                               Attorneys for U.S. Real Estate
                                               313 Monroe Street, Suite 301
                                               Tallahassee, FL 32301
                                               Telephone No. (850) 561-3010
                                               Facsimile No. (954) 561-3013


                                              By: s/ Brian G. Rich_______________
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                               CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that a true and correct copy of the forgoing was served on August
10, 2023, by electronic transmission through the Court, CM/ECF system upon all parties
registered to receive electronic notice in this case as reflected on the attached CM/ECF Service
List.
                                                    By: s/ Brian G. Rich__
                                                                         ___
                                                                           ___
                                                                             ___
                                                                               __
                                                           Brian G. Rich




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                                 CM/ECF SERVICE LIST

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                                     Exhibit 1

                           Proposed Supplemental Order




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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION
                                        www.flsb.uscourts.gov




 In re:                                                         Chapter 11

 BANYAN CAY RESORT & GOLF, EEC,                                 Case No. 23-12386-EPK
 et al.1
                                                                (Jointly Administered)
             Debtors.
                                                   /


   STIPULATION AND SUPPLEMENTAL FINAL ORDER AUTHORIZING USE OF
 CASH COLLATERAL PURSUANT TO 11 U.S.C. § 363, (II) GRANTING ADEQUATE
 PROTECTION PURSUANT TO 11 U.S.C. §§ 361 AND 363, (III) AUTHORIZING THE
  DEBTORS TO OBTAIN POSTPETITION FINANCING PURSUANT TO 11 U.S.C. §§
 105(A), 362, 364(C), AND 3649D), AND (IV) GRANTING SUPER PRIORITY CLAIMS
 _____________TO THE DIP LENDER PURSUANT TO 11 U.S.C. 364(C)_____________




1 The Debtors are: (i) Banyan Cay Investment, LLC; (ii) Banyan Cay Mezzanine Borrower, LLC; (iii) Banyan Cay
Resort & Golf LLC; (iv) Banyan Cay Dev. LLC; (v) Banyan Cay Villas, LLC; and (vi) Banyan Cay Maintenance,
LLC. The address of the Debtors is 1900 Banyan Club Road, West Palm Beach, Florida 33401.
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         THIS CAUSE came before the Court on August__, 2023 at______ , on the Agreed

Emergency Motion to Supplement the Final Order Authorizing Use of Cash Collateral Pursuant

to 11 U.S.C. § 363, (II) Granting Adequate Protection Pursuant to 11 U.S.C. §§361 And 363,

(III) Authorizing the Debtors to Obtain Postpetition Financing Pursuant to 11 U.S.C. §§ 105(a),

362, 364(c), and 364(d), and (IV) Granting Super Priority Claims to the DIP Lender Pursuant to

11 U.S.C. 364(c) (the “Motion”), filed by U.S. Real Estate Credit Holdings III-A, LP (“U.S. Real

Estate” or the “Lender”) and the above captioned Debtors (collectively the “Debtors”) seeking to

amend the Final Order Authorizing Use of Cash Collateral Pursuant to 11 U.S.C. § 363,

(II) Granting Adequate Protection Pursuant to 11 U.S.C. §§ 361 and 363, (III) Authorizing the

Debtors to Obtain Postpetition Financing Pursuant to 11 U.S.C. §§ 105(a), 362, 364(c), and

364(d), and (IV) Granting Super Priority Claims to the DIP Lender Pursuant to 11 U.S. C. 364(c),

entered May 18, 2023 [ECF No. 131, the “Final DIP and Cash Collateral Order”] pursuant to 11

U.S.C. §§ 361, 363, 364(c) and (d). The Court, having reviewed and considered the Final DIP

Order, the Motion and the evidence and argument presented in support of the Motion, as well as

the Court record in this case, the Court

         ORDERS as follows:

The Motion is GRANTED.

               Except as specifically provided in this Supplemental Order, the terms and

provisions of the Final DIP and Cash Collateral Order shall remain a final Order and in full force

and effect, binding upon all parties in interest, and are incorporated herein by reference. For

purposes of such incorporation only, all references in the Final DIP and Cash Collateral Order to



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“this Final Order” shall be read to also include this Supplemented Order.2
                 The Budget referenced in Paragraph (a) of the recitals in the Final DIP and Cash
Collateral Order shall be supplemented by the Supplemental Budget, attached hereto as
Exhibit A.     The Lender shall fund consistent with the Supplemental Budget, the terms of the
Motion, and the terms of the Loan Documents. The Lender shall be entitled to all protections,
liens, and rights as set forth in the Loan Documents and the Final DIP and Cash Collateral Order
                 The “Maturity Date” is August 31, 2023, or the date upon which the Credit Bid
Transaction is closed. No existing defaults under the Final DIP and Cash Collateral have been
satisfied or waived and this Order, and the agreement to fund as set forth herein is not a waiver of
the Lender’s rights in any way.
                 All of the Lender’s rights and remedies under the Final DIP and Cash Collateral
Order and Loan Documents are preserved.
                                                     m#
Submitted by:
Brian G. Rich, Esq.
BERGER SINGERMAN LLP
Attorneys for US. Real Estate
313 Monroe Street, Suite 301
Tallahassee, FL 32301
Telephone No. (850) 561-3010
Brich@bergersingerman.com
(Attorney Rich is directed to serve this order upon all non-registered users who have yet to appear
electronically in this case andfile a conforming certificate of service.)




2 Nothing contained in this Order should be deemed to affect or alter the finality of the Final DIP & Cash
Collateral Order
                                                         3
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                          Exhibit A to Supplemental Order

                                 Supplemental Budget




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                                                 31 July 2023 Through 27 Aug 2023




    Line                            Item                            7/31/2023     8/7/2023     8/14/2023 8/21/2023


     1     Revenue
     2
     2     GOLF-Cost of Goods Sold
     4
     5     F&B - Cost of Goods Sold
     6            Food
     7            Alcohol
     8            Merchant account fees                                 4,000                                                4,000
     9            Supplies
    10     Total F&B                                                    4,000                                                4,000
    11
    12     Total Revenue Offsets                                       (4,000)                                               (4,000)
    13
    14     Operational Expenses
    15     Admin Expenses
    16        Sprint (Cell Phone and iPad)                              1,600                                                1,600
    17        Bank Fees                                                   200                                                  200
    18        Software Maintenance                                      5,000                              400               5,400
    19        Phone System, Domains, Emails                               500____________________________ 200                  700
    20     Total Admin Expenses                                         7,300_________-_________ -_________600               7,900
    21
    22     Repairs & Maint
    23        General Deferred Maintenance                              5,000         5,000       5,000       5,000         20,000
    24     Total Repairs & Maint                                        5,000         5,000       5,000       5,000         20,000
    25
    26     Hardscape Repairs
    27        Landscape Congress Ave and Development                   16,200                                               16,200
    28     Total Hardscape Repairs                                     16,200                                               16,200
    29
    30     Insurance
    31        Commercial GL / Crime & Fidelity / Terrorism                       $163,701.84                               163,702
    32        Excess/Umbrella Liability:
    33        Business Auto
    34        Inland Marine Insurance                              _____________________
    35     Total Insurance                                         ______^_______ 163,702                                  163,702
    36
    37     Payroll                                                     45,000                45,000    45,000              135,000
    38        Golf Course Consultant                                    7,500___________________________ 7,500              15,000
    39     Payroll & Contract Labor                                    52,500_________       45,000    52,500              150,000
    40
    41     Golf Course Expenses
    42        DLL (Equipment Leases)
    43        Site One (Chemicals)                                      5,000         5,000        5,000       5,000        20,000
    44        Legacy Turf (Liquid Fertilizer)                           2.500         2,500        2,500       2.500        10,000
    45        Plant Health Solution (Chemicals)                         1,300         1,300        1,300       1,300         5,200
    46        Golf Agronomics Supply (Testing, Sand)                    7.500                                  7.500        15,000
    47        Hector (Irrigation & Parts)                               4,000         4,000        4,000       4,000        16,000
    48        Lake Maintenance                                         14,000                                               14,000
    49        SSI (Diesel and Gas GCM)                                  6,000                                                6,000
    50     Total Golf Course Expenses                                  40,300        12,800      12,800      20,300         86,200
    51
    52     Utilities Expenses
    53         FPL (Electricity)                                     100,000                                               100,000
    54         City of West Palm Beach (Water)                         4,000                                                 4,000
    55         Comcast (Cable and Internet)                              600                             600                 1,200
    56         Florida Public Utilities (Gas)                       __________________________________ 1,500                 1,500
    57     Total Utilities                                           104,600_________ -_________       2,100               106,700
    58
    59     Other Expenses
    60        City Violations Fines (Property Cleanup Related)                               25,000                         25,000
    61        Removal of Debris and Lake Cleanup                                              15,000                        15,000
    62        Lock & Key Changes                                                              15,000
    63        Security                                                 19,000                19,000                         38,000
    64        Storage                                                  28,000______________________                         28,000
    65     Total Other Expenses                                        47,000_________       74,000                        106,000
    66
    67     Bankruptcy Related
    68        Professional Fees
    69            CRO                                                 12.500         12,500       12,500     12,500         50,000
    70            Attorney                                            25,000          25,000      25,000     25,000        100,000
    71                Total Professional Fees *                       37.500         37,500       37,500     37,500        150,000
    72     Total Bankruptcy Related                                   37,500          37,500      37,500     37,500        150,000
    73
    74     Total Expenses                                            310,400        219,002     174,300     118,000        806,702
    75
    76     Net Financing Required                                    314,400       219,002     174,300      118,000        810,702
    77
    78                                           Beginning Cash      110,000             ...
    79                                     Weekly Cash Required      204,400       219,002     174,300      118,000
    80                                              Ending Cash          -               ...


           Fees are up to the amounts set forth herein and only for case administration and title transfer/closing related issues.
           Fees do not include time for Litigation analysis or a Plan, unless Lender consents to a Plan process.
           Professional fees to be funded and paid at closing or Fee Application approval, if applicable (but if
           approved prior to closing, fees shall not be paid until closing).
